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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                        AUSTIN DIVISION

LAWRENCE MERIWETHER,                                 §
                                                     §
Plaintiff
                                                     §
                                                     §
VS.                                                  §      Case No. 1:20-CV-01003-LY
                                                     §
HUNTER WARFIELD, INC.,                               §
                                                     §
Defendant
                                                     §

                         ORDER SETTING INITIAL PRETRIAL CONFERENCE

            IT IS HEREBY ORDERED that the above entitled and numbered case is set for an

INITIAL PRETRIAL CONFERENCE by telephone on Friday, August 20, 2021, at 11:00 AM

CDT. The parties shall provide the court with their direct telephone numbers on or before 12:00

PM CDT, on Thursday, August 19, 2021, via email to Courtroom Deputy Clerk, Samantha

Oakes at Samantha_Oakes@txwd.uscourts.gov.

            The parties’ proposed scheduling order is tentatively approved and the parties shall

comply with the dates set forth in paragraphs 1 through 7 of such proposed order pending the

initial pretrial conference.

            At the initial pretrial conference, the Court will schedule a final pretrial conference and

set a trial month.

            SIGNED this 26th day of July, 2021.




                                                  LEE YEAKEL
                                                  UNITED STATES DISTRICT JUDGE
